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                             The Shelby County, Tennessee Circuit Court




    Case Style:              RODNEY JOHNSON VS VIEW AT SHELBY FARMS

    Case Number:             CT-3769-21

    Type:                    SUMMONS ISSD TO MISC




                                                  David Smith, DC




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                             The Shelby County, Tennessee Circuit Court




    Case Style:              RODNEY JOHNSON VS VIEW AT SHELBY FARMS

    Case Number:             CT-3769-21

    Type:                    SUMMONS ISSD TO MISC




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                             The Shelby County, Tennessee Circuit Court




    Case Style:              RODNEY JOHNSON VS VIEW AT SHELBY FARMS

    Case Number:             CT-3769-21

    Type:                    SUMMONS ISSD TO MISC




                                                  David Smith, DC




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                             The Shelby County, Tennessee Circuit Court




    Case Style:              RODNEY JOHNSON VS VIEW AT SHELBY FARMS

    Case Number:             CT-3769-21

    Type:                    SUMMONS ISSD TO MISC




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               IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
                FOR THE THIRTIETH JUDICIAL DISTRICT, AT MEMPHIS


 RODNEY JOHNSON,

        Plaintiff,
                                                            No. CT-3769-21
 v.                                                         Division VIII

 THE VIEW AT SHELBY FARMS, and                              Jury Demanded
 BIRGE & HELD ASSET MANAGEMENT, LLC,

        Defendants.


                                 NOTICE OF APPEARANCE


        The undersigned attorneys, Christopher L. Vescovo, William C. Podesta, and the law

 firm of Lewis Thomason, P.C., hereby enter their Notice of Appearance on behalf of Defendant,

 Birge & Held Asset Management, LLC. By filing this Notice, the undersigned are putting the

 Court and the parties on notice of the undersigned’s involvement, and said Defendant is hereby

 reserving any and all defenses, both substantive and procedural, that the Defendant may have in

 this cause.
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 64 of 91                      PageID 71




                                                      Respectfully submitted,

                                                      LEWIS THOMASON


                                                       s/ William C. Podesta
                                                      Christopher L. Vescovo, Esq. (BPR #14516)
                                                      William C. Podesta, Esq. (BPR #36303)
                                                      Suite 2900, One Commerce Square
                                                      40 S. Main Street
                                                      Memphis, TN 38103
                                                      (901) 525-8721
                                                      CVescovo@LewisThomason.com
                                                      WPodesta@LewisThomason.com
                                                      Attorneys for Defendant, Birge & Held Asset
                                                      Management, LLC




                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 22nd day of February, 2022, a copy of the foregoing pleading
 has been delivered to all parties at interest in this cause by placing a copy of same in the United
 States mail, postage prepaid, in a properly addressed envelope, or by delivering same to each party
 or party’s attorney as follows:

                             Hand     Allen Gressett
                             Mail     Schwed, Adams & McGinley, P.A.
                             Fax      88 Union Avenue
                             Fed X    11th Floor, Suite 1100
                             EFS      Memphis, Tennessee 38103
                             E-mail
                                      Attorney for Plaintiff


                                                       s/ William C. Podesta
                                                      William C. Podesta, Esq. (BPR #36303)
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                IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
               FOR THE THIRTIETH JUDICIAL DISTRICT, AT MEMPHIS


 RODNEY JOHNSON,

        Plaintiff,
                                                             No. CT-3769-21
 v.                                                          Division VIII

 THE VIEW AT SHELBY FARMS, and                               Jury Demanded
 BIRGE & HELD ASSET MANAGEMENT, LLC,

        Defendants.


                                 ANSWER OF DEFENDANT,
                               THE VIEW AT SHELBY FARMS
                               TO PLAINTIFF’S COMPLAINT


        Comes now The View at Shelby Farms (“Defendant”), by and through undersigned

 counsel, pursuant to Rules 8 and 12 of the Tennessee Rules of Civil Procedure, and asserts the

 following affirmative and legal defenses, responds to the averments set forth in Plaintiff’s

 Complaint, and submits the following Answer:

                                RESPONSES TO AVERMENTS

        1.      Defendant lacks the knowledge or information sufficient to admit or deny whether

 Plaintiff is a resident citizen of Shelby County, Tennessee, and demands strict proof thereof.

 Defendant admits that it is a foreign limited liability company licensed and authorized to conduct

 business in Tennessee. The remaining averments set forth in Paragraph No. I are not directed

 toward this Defendant and, therefore, do not necessitate a response.

        2.      Defendant states that “The View at Shelby Farms” is not a legal entity; New CSQ,

 LLC, owned and did business as “The View at Shelby Farms” at the time of the events alleged in

 the Complaint. Whether Plaintiff was an invitee of The View at Shelby Farms apartments calls
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 66 of 91                          PageID 73




 for a legal conclusion and, therefore, does not necessitate a response. Defendant denies that

 Defendant, Birge & Held Assert Management, LLC, owned The View at Shelby Farms apartments

 but admits that Defendant, Birge & Held Assert Management, LLC, operated The View at Shelby

 Farms apartments. Defendant lacks the knowledge or information sufficient to admit or deny the

 remaining averments set forth in Paragraph No. II and demands strict proof thereof.

        3.      Defendant denies that it had exclusive control of the property in question. The

 remaining averments set forth in Paragraph No. III call for a legal conclusion and, therefore, do

 not necessitate a response.

        4.      In response to Paragraph No. 1, Section III of the Complaint, Defendant asserts that

 whether Defendant owed a duty of care as alleged calls for a legal conclusion and, therefore, does

 not necessitate a response.

        5.      Defendant denies the averments set forth in Paragraph No 2, Section III.

        6.      Defendant denies the averments set forth in Paragraph No. 3, Section III.

        7.      Defendant denies the averments set forth in Paragraph No. 4, Section III.

        8.      Defendant denies the averments set forth in Paragraph No. 5, Section III.

        9.      Defendant denies the averments set forth in Paragraph No. IV of Plaintiff’s

 Complaint.

        10.     In response to Plaintiff’s prayer for relief, Defendant denies that Plaintiff is entitled

 to any of the relief sought and denies that Defendant is liable to Plaintiff under any theory of

 recovery.

        11.     Defendant joins in Plaintiff’s demand for a trial by jury of twelve.

        12.     Insofar as Defendant failed to admit or deny any averment of fact directed toward

 it, Defendant denies the same.
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                            AFFIRMATIVE AND LEGAL DEFENSES

        13.       Defendant states affirmatively that Plaintiff’s Complaint fails to state a claim upon

 which relief can be granted and moves to dismiss it pursuant to Rule 12.02(6) of the Tennessee

 Rules of Civil Procedure.

        14.       Defendant states affirmatively that the injuries alleged in Plaintiff’s Complaint, to

 the extent they are proven, were caused by Plaintiff’s own negligence to such a degree that

 recovery is barred under the doctrine of comparative fault. Defendant states affirmatively that

 Plaintiff assumed the risk of his injuries to such a degree that recovery is barred under the doctrine

 of comparative fault. Such fault, to the extent applicable, includes but is not limited to failure to

 use reasonable care for plaintiff’s own safety and to make responsible use of plaintiff’s senses and

 failure to see or be aware of an unsafe condition that was obvious or should have been discovered

 through the use of reasonable care.

        15.       Defendant asserts that it, including its agents and employees, breached no duty of

 care and caused no injury to Plaintiff.

        16.       Defendant asserts that it, including its agents and employees, exercised the degree

 of care that a reasonable and prudent person would have exercised in the same or similar

 circumstances.

        17.       Defendant asserts that the premises at issue was free of dangerous, defective, or

 unsafe conditions.

        18.       In the alternative, to the extent that the premises at issue is proven to be defective

 and/or unreasonably dangerous at the time of Plaintiff’s alleged fall, Defendant asserts that it did

 not have any notice, actual or constructive, of the alleged defect and/or unreasonably dangerous

 condition.
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        19.     In the alternative, to the extent that the premises at issue is proven to be defective

 and/or unreasonably dangerous at the time of Plaintiff’s alleged fall, Defendant affirmatively states

 that such defects and/or unreasonably dangerous conditions were open and obvious, such that a

 reasonable person would identify the conditions and appreciate the risk(s) they pose.

        20.     Defendant asserts that any injury sustained by Plaintiff, if proven, was not

 reasonably foreseeable to this Defendant.

        21.     Defendant asserts that neither it nor its employees and/or agents had actual or

 constructive knowledge of any dangerous, defective, and/or unsafe conditions on or about the

 premises at issue.

        22.     Defendant avers that the statutory caps on damages, set forth in Tenn. Code Ann. §

 29-39-102, apply to this action.

        23.     This Defendant affirmatively asserts all defenses under the doctrine of respondeat

 superior or any other agency principles.

        24.     Defendant asserts that the investigation of this matter is not yet complete and,

 therefore, gives notice that any and all affirmative defenses that may be developed through

 investigation and discovery will be relied upon by Defendant at the trial of this case. Defendant

 specifically reserves the right to amend this Answer and plead additional facts and/or defenses,

 including affirmative defenses, which may be supported by said investigation and discovery. To

 the extent facts are developed that justify a reliance thereon, Defendant pleads and relies upon the

 defenses of comparative fault, assumption of the risk, independent and intervening cause,

 preexisting condition, and failure to mitigate damages. As an affirmative defense, Defendant

 asserts any recovery should be barred on the basis of superseding or intervening cause.
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        25.       Defendant serves notice upon Plaintiff that its investigation of this matter is not yet

 complete and it is without sufficient information at this time regarding the assertion of any cross-

 claims, counterclaims, and/or third party claims against any other parties and specifically reserves

 the right to amend this Answer to include such cross-claims, counterclaims, and/or third party

 claims as appropriate as investigation and discovery in this matter continues.               Defendant

 specifically reserves the right to amend this Answer and plead and/or delete additional facts and/or

 defenses as may be supported by said discovery.

        26.       Defendant avers that discovery is ongoing and incomplete, and so it reserves the

 right to amend this Answer in any manner as may be warranted by further discovery and

 investigation.

        AND NOW, HAVING FULLY ANSWERED PLAINTIFF’S COMPLAINT, Defendant

 prays that it may be hence dismissed and that the costs hereof be adjudged against Plaintiff. In the

 event that a trial is necessary, however, Defendant prays for a trial by a jury of twelve (12) persons.



                                                         Respectfully submitted,

                                                         LEWIS THOMASON, P.C.


                                                          s/ William C. Podesta
                                                         Christopher L. Vescovo, Esq. (BPR #14516)
                                                         William C. Podesta, Esq. (BPR #36303)
                                                         Suite 2900, One Commerce Square
                                                         40 S. Main Street
                                                         Memphis, TN 38103
                                                         (901) 525-8721
                                                         Attorneys for Defendant, New CSQ, LLC,
                                                         d/b/a The View at Shelby Farms
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 70 of 91                        PageID 77




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 29th day of March, 2022, a copy of the foregoing pleading has
 been delivered to all parties at interest in this cause by placing a copy of same in the United States
 mail, postage prepaid, in a properly addressed envelope, or by delivering same to each party or
 party’s attorney as follows:

                              Hand     Allen Gressett
                              Mail     Schwed, Adams & McGinley, P.A.
                              Fax      88 Union Avenue
                              Fed X    11th Floor, Suite 1100
                              EFS      Memphis, Tennessee 38103
                              E-mail
                                       Attorney for Plaintiff


                                                        s/ William C. Podesta
                                                       William C. Podesta, Esq. (BPR #36303)
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             IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
              FOR THE THIRTIETH JUDICIAL DISTRICT, AT MEMPHIS


 RODNEY JOHNSON,

        Plaintiff,
                                                             No. CT-3769-21
 v.                                                          Division VIII

 THE VIEW AT SHELBY FARMS, and                               Jury Demanded
 BIRGE & HELD ASSET MANAGEMENT, LLC,

        Defendants.


                              ANSWER OF DEFENDANT,
                       BIRGE & HELD ASSET MANAGEMENT, LLC,
                             TO PLAINTIFF’S COMPLAINT


        Comes now Defendant, Birge & Held Asset Management, LLC (“Defendant”), by and

 through undersigned counsel, pursuant to Rules 8 and 12 of the Tennessee Rules of Civil

 Procedure, and asserts the following affirmative and legal defenses, responds to the averments set

 forth in Plaintiff’s Complaint, and submits the following Answer:

                                RESPONSES TO AVERMENTS

        1.      Defendant lacks the knowledge or information sufficient to admit or deny whether

 Plaintiff is a resident citizen of Shelby County, Tennessee, and demands strict proof thereof.

 Defendant admits that it is a foreign limited liability company licensed and authorized to conduct

 business in Tennessee. The remaining averments set forth in Paragraph No. I are not directed

 toward this Defendant and, therefore, do not necessitate a response.

        2.      Whether Plaintiff was an invitee of The View at Shelby Farms apartments calls for

 a legal conclusion and, therefore, does not necessitate a response. Defendant denies that it owned

 The View at Shelby Farms apartments but admits that it operated The View at Shelby Farms
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 72 of 91                          PageID 79




 apartments. Defendant lacks the knowledge or information sufficient to admit or deny the

 remaining averments set forth in Paragraph No. II and demands strict proof thereof.

        3.      Defendant denies that it had exclusive control of the property in question. The

 remaining averments set forth in Paragraph No. III call for a legal conclusion and, therefore, do

 not necessitate a response.

        4.      In response to Paragraph No. 1. N Section III of the Complaint, Defendant asserts

 that whether Defendant owed a duty of care as alleged calls for a legal conclusion and, therefore,

 does not necessitate a response.

        5.      Defendant denies the averments set forth in Paragraph No 2, Section III.

        6.      Defendant denies the averments set forth in Paragraph No. 3, Section III.

        7.      Defendant denies the averments set forth in Paragraph No. 4, Section III.

        8.      Defendant denies the averments set forth in Paragraph No. 5, Section III.

        9.      Defendant denies the averments set forth in Paragraph No. IV of Plaintiff’s

 Complaint.

        10.     In response to Plaintiff’s prayer for relief, Defendant denies that Plaintiff is entitled

 to any of the relief sought and denies that Defendant is liable to Plaintiff under any theory of

 recovery.

        11.     Defendant joins in Plaintiff’s demand for a trial by jury of twelve.

        12.     Insofar as Defendant failed to admit or deny any averment of fact directed toward

 it, Defendant denies the same.

                           AFFIRMATIVE AND LEGAL DEFENSES
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 73 of 91                         PageID 80




        13.       Defendant states affirmatively that Plaintiff’s Complaint fails to state a claim upon

 which relief can be granted and moves to dismiss it pursuant to Rule 12.02(6) of the Tennessee

 Rules of Civil Procedure.

        14.       Defendant states affirmatively that the injuries alleged in Plaintiff’s Complaint, to

 the extent they are proven, were caused by Plaintiff’s own negligence to such a degree that

 recovery is barred under the doctrine of comparative fault. Defendant states affirmatively that

 Plaintiff assumed the risk of his injuries to such a degree that recovery is barred under the doctrine

 of comparative fault. Such fault, to the extent applicable, includes but is not limited to failure to

 use reasonable care for plaintiff’s own safety and to make responsible use of plaintiff’s senses and

 failure to see or be aware of an unsafe condition that was obvious or should have been discovered

 through the use of reasonable care.

        15.       Defendant asserts that it, including its agents and employees, breached no duty of

 care and caused no injury to Plaintiff.

        16.       Defendant asserts that it, including its agents and employees, exercised the degree

 of care that a reasonable and prudent person would have exercised in the same or similar

 circumstances.

        17.       Defendant asserts that the premises at issue was free of dangerous, defective, or

 unsafe conditions.

        18.       In the alternative, to the extent that the premises at issue is proven to be defective

 and/or unreasonably dangerous at the time of Plaintiff’s alleged fall, Defendant asserts that it did

 not have any notice, actual or constructive, of the alleged defect and/or unreasonably dangerous

 condition.
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 74 of 91                       PageID 81




        19.     In the alternative, to the extent that the premises at issue is proven to be defective

 and/or unreasonably dangerous at the time of Plaintiff’s alleged fall, Defendant affirmatively states

 that such defects and/or unreasonably dangerous conditions were open and obvious, such that a

 reasonable person would identify the conditions and appreciate the risk(s) they pose.

        20.     Defendant asserts that any injury sustained by Plaintiff, if proven, was not

 reasonably foreseeable to this Defendant.

        21.     Defendant asserts that neither it nor its employees and/or agents had actual or

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 premises at issue.

        22.     Defendant avers that the statutory caps on damages, set forth in Tenn. Code Ann. §

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        23.     This Defendant affirmatively asserts all defenses under the doctrine of respondeat

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        24.     Defendant asserts that the investigation of this matter is not yet complete and,

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 specifically reserves the right to amend this Answer and plead additional facts and/or defenses,

 including affirmative defenses, which may be supported by said investigation and discovery. To

 the extent facts are developed that justify a reliance thereon, Defendant pleads and relies upon the

 defenses of comparative fault, assumption of the risk, independent and intervening cause,

 preexisting condition, and failure to mitigate damages. As an affirmative defense, Defendant

 asserts any recovery should be barred on the basis of superseding or intervening cause.
Case 2:22-cv-02655-SHM-tmp Document 1-2 Filed 09/26/22 Page 75 of 91                          PageID 82




        25.       Defendant serves notice upon Plaintiff that its investigation of this matter is not yet

 complete and it is without sufficient information at this time regarding the assertion of any cross-

 claims, counterclaims, and/or third party claims against any other parties and specifically reserves

 the right to amend this Answer to include such cross-claims, counterclaims, and/or third party

 claims as appropriate as investigation and discovery in this matter continues.               Defendant

 specifically reserves the right to amend this Answer and plead and/or delete additional facts and/or

 defenses as may be supported by said discovery.

        26.       Defendant avers that discovery is ongoing and incomplete, and so it reserves the

 right to amend this Answer in any manner as may be warranted by further discovery and

 investigation.

        AND NOW, HAVING FULLY ANSWERED PLAINTIFF’S COMPLAINT, Defendant

 prays that it may be hence dismissed and that the costs hereof be adjudged against Plaintiff. In the

 event that a trial is necessary, however, Defendant prays for a trial by a jury of twelve (12) persons.



                                                         Respectfully submitted,

                                                         LEWIS THOMASON, P.C.


                                                          s/ William C. Podesta
                                                         Christopher L. Vescovo, Esq. (BPR #14516)
                                                         William C. Podesta, Esq. (BPR #36303)
                                                         Suite 2900, One Commerce Square
                                                         40 S. Main Street
                                                         Memphis, TN 38103
                                                         (901) 525-8721
                                                         Attorneys for Defendant, Birge & Held Asset
                                                         Management, LLC
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 25th day of March, 2022, a copy of the foregoing pleading has
 been delivered to all parties at interest in this cause by placing a copy of same in the United States
 mail, postage prepaid, in a properly addressed envelope, or by delivering same to each party or
 party’s attorney as follows:

                              Hand     Allen Gressett
                              Mail     Schwed, Adams & McGinley, P.A.
                              Fax      88 Union Avenue
                              Fed X    11th Floor, Suite 1100
                              EFS      Memphis, Tennessee 38103
                              E-mail
                                       Attorney for Plaintiff


                                                        s/ William C. Podesta
                                                       William C. Podesta, Esq. (BPR #36303)
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               IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
                FOR THE THIRTIETH JUDICIAL DISTRICT, AT MEMPHIS


 RODNEY JOHNSON,

        Plaintiff,
                                                               No. CT-3769-21
 v.                                                            Division VIII

 THE VIEW AT SHELBY FARMS, and                                 Jury Demanded
 BIRGE & HELD ASSET MANAGEMENT, LLC,

        Defendants.


           DEFENDANT, BIRGE & HELD ASSET MANAGEMENT, LLC’s
      FIRST SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION
                        PROPOUNDED TO PLAINTIFF


        Defendant, Birge & Held Asset Management (“Birge” or “this Defendant”), by and through

 undersigned counsel, pursuant to Rules 26, 33, and 34 of the Tennessee Rules of Civil Procedure,

 propound the following First Set of Interrogatories and Requests for Production to Plaintiff, to be

 answered under oath within thirty (30) days:

                                          DEFINITIONS

        The following definitions apply to these Interrogatories and Requests for Production unless

 specified or the context indicates otherwise:

        A.      The term "Person" or "Persons" means any natural person in any capacity

 whatsoever, and any artificial person or identifiable entity, which shall include, but not be limited

 to, a public or private corporation, partnership, joint venture, voluntary or unincorporated

 association, organization, proprietorship, trust, state, governmental agency, commission, or

 department.

        B.      "Document" means anything (other than a natural person) which has physical
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 existence and is, contains, or embodies information, which is in the Plaintiff’s possession, custody,

 control, including, but not limited to, all materials encompassed by Rule 34 of the Tennessee Rules

 of Civil Procedures, and anything by which data or information is recorded or stored, such as,

 without limitation, letters, memoranda, reports, records, contracts, notes, charts, drawings,

 schedules, graphs, indexes, photographs, and computer-stored data.

        C.      "Describe" means a factual summary which includes, among other things, an

 identification of the persons, communications, and documents involved.

        D.      "Identify", when used in reference to a natural person, means to state the person's

 name, address, employer, and job title.

        E.      "Identify" when used in reference to a non-natural person, such as a corporation or

 other entity, means to state all names under which the entity conducts business, its date of

 incorporation (if any), the addresses of its principal place of business, and the addresses from

 which it conducted work-related to this project.

        F.      "Identify" when used in reference to a document means to state the form of the

 document (e.g., letter, memorandum, or contract), its title, its date, its subject matter, the name or

 names of its officers or recipients, and its present location or custodian.

        G.      “You” or “Plaintiff” is meant to be and include Plaintiff, your agents, attorneys,

 and anyone acting on your behalf.

        H.      “Anyone acting on your behalf” includes, but is not limited to, Plaintiff’s attorneys,

 representatives, and consultants.

        I.      “Person” includes a natural person, firm, association, organization, partnership,

 business trust, corporation, or public entity.

        J.      “Custodian” refers to the person having possession, custody, or control.
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        K.         “Incident” refers to the incident out of which this cause of action or causes of action

 arise(s) and as described in the Complaint on file herein.

        L.         “Writing” means handwriting, typewriting, printing, Photostatting, photographing,

 and every other means of recording upon any tangible thing or any form of communication or

 representation, including letters, words, pictures, sounds, symbols, or combinations thereof.

        M.         “Identify each writing and its custodian” means to describe each writing with

 particularity sufficient to identify the same for a request to produce and state the name, address,

 telephone number, and job title or position of the person having possession, custody, or control

 thereof.

        N.         Whenever an address or telephone number are requested, you are requested to

 furnish both the business and residence address and business and residence telephone number.

 “Address” means complete address i.e., house number or rural mail number, town or city, county,

 and state.

        O.         “Plaintiff’s counsel” includes the support staff of Plaintiff’s counsel and those

 employed by Plaintiff’s counsel’s law firm, including legal assistants, investigators, secretaries,

 and paralegals.

                                         INTERROGATORIES

                                             INSTRUCTIONS

        These Interrogatories are directed to the Plaintiff, but they include inquiry as to information

 within the knowledge of the Plaintiff’s attorney(s), or anyone acting on Plaintiff’s behalf.

 Furthermore, the inquiries made are continuing, so that the answers should be supplemented in the

 event new information is obtained by the Plaintiff, Plaintiff’s attorney(s), or any other person

 acting on the Plaintiff’s behalf.
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        If privilege is claimed as a ground for not answering any Interrogatory, or if an

 Interrogatory is otherwise objected to, describe the legal and/or factual basis for the claim of the

 privilege or other objection to each Interrogatory or Interrogatory part in sufficient detail so as to

 permit the Court to adjudicate the validity of the claim or objection, and identify all documents

 which refer to or relate to the information requested.

                               FIRST SET OF INTERROGATORIES

        INTERROGATORY No. 1:                    State Plaintiff’s full name, address, date of birth, and

 social security number. List all names, including aliases, under which you have been known.

        INTERROGATORY No. 2:                    State the name, address and telephone number of

 each person who may have knowledge of any facts and circumstances relevant to the events

 described in the Complaint, including, but not limited to, persons having knowledge of the

 Plaintiff’s injuries and damages, eyewitnesses to the incident at issue, and those who have

 knowledge of events immediately preceding and subsequent to the incident at issue.

        INTERROGATORY No. 3:                    If treatment or consultation was administered to

 Plaintiff by any doctor, psychiatrist, therapist, or other practitioner for any of the injuries alleged

 to have resulted from the occurrence described in the Complaint, state the name and address of

 each and every one so consulted or rendering treatment, together with the initial date of

 consultation and/or treatment and a description of the injury involved.

        INTERROGATORY No. 4:                    State whether Plaintiff has been hospitalized as a

 result of any injuries alleged to have resulted from the occurrence described in the Complaint. If

 so, give the name and address of each hospital, the admission and discharge dates of each

 hospitalization, a description of the injury involved, and treatment rendered during each

 hospitalization.
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        INTERROGATORY No. 5:                   Identify and itemize each and every medical and

 hospital bill or expense for which Plaintiff is making a claim in this lawsuit.

        INTERROGATORY No. 6:                   List, describe, and itemize any expenses or any

 financial loss including, but not limited to, loss of income, which Plaintiff attributes to the

 occurrence involved in this lawsuit.

        INTERROGATORY No. 7:                   If Plaintiff was employed at the time of the subject

 incident, provide the name and address of any employer, the rate at which Plaintiff was paid, and

 the number of days missed from work.

        INTERROGATORY No. 8:                   Other than the doctors, psychiatrists, therapists, or

 other practitioners who have previously been identified in connection with treatment rendered for

 injuries resulting from the occurrence which is the subject of this lawsuit, state the names and

 addresses of each and every doctor, psychiatrist, therapist, or practitioner who has seen, examined,

 or treated Plaintiff for any reason during the past ten years. With regard to each health care

 provider identified, give a brief statement of the reason for treatment and dates of treatment.

        INTERROGATORY No. 9:                   Other than hospitalizations resulting from injuries

 alleged to have resulted from the occurrence described in the Complaint, list the names and

 addresses of each hospital wherein Plaintiff has been seen, examined, treated, or confined during

 her lifetime. With regard to each such hospitalization, give a brief statement of the reason for

 treatment or confinement, and dates.

        INTERROGATORY No. 10:                  State whether Plaintiff has suffered any injuries or

 illnesses whatsoever since the date of the occurrence described in the Complaint. If so, list the

 nature of each such injury or illness and the date.

        INTERROGATORY No. 11:                  For each person whom you expect to call as an expert
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 witness at the trial of this matter, please state:

                 a.      The name and address of each person;

                 b.      The subject matter upon which the expert is expected to testify;

                 c.      The substance of each and every fact to which the expert is expected to

                         testify;

                 d.      The substance of each and every opinion to which the expert is expected to

                         testify, including, but not limited to, standard of care and causation

                         opinions;

                 e.      The ground for each opinion;

                 f.      The witness’s qualifications;

                 g.      All publications authored by the witness in the prior ten years;

                 h.      All other cases in which the witness has testified in the prior four years; and

                 i.      The compensation to be paid the witness for study and testimony in the case.

         INTERROGATORY No. 12:                    State whether Plaintiff has ever been engaged either

 as a plaintiff or as a defendant in any other civil or criminal litigation. If so, give the style of the

 case, the court, the docket number, outcome, and approximate date(s) the matter was commenced.

         INTERROGATORY No. 13:                    Other than litigation described in answer to the

 preceding Interrogatory, state whether Plaintiff has ever made a claim for personal injury or

 property damage against any person, institution, or insurance company. If so, give the date of the

 occurrence which was the basis of the claim, the name and address of the person, institution, or

 insurance company against whom the claim was made, the nature of the claim, and the outcome

 of the claim.

         INTERROGATORY No. 14:                    Please state the substance of any statements relevant
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 to the allegations set forth in Plaintiff’s Complaint, including any and all statements made to or by

 any agent and/or employee of any Defendant and those made to or by any individual identified in

 the Complaint, and for each such statement, identify the speaker and audience and those with

 knowledge of the statement and state whether it was recorded or transcribed, the mode of

 communication (e.g., in-person, telephone, correspondence) and the date and location of the

 statement of conversation. This Interrogatory specifically seeks the substance of any such

 conversations or statements of which Plaintiff has knowledge or information or that are within

 Plaintiff’s possession or control, regardless of whether it was recorded or transcribed.

 Additionally, “statements” are not limited to formal statements taken during the investigation into

 the facts of this lawsuit, but is broadly defined to mean “an oral or written assertion or nonverbal

 conduct of a person if it is intended by the person as an assertion.”

        INTERROGATORY No. 15:                   Please   identify   and    describe   in   detail    any

 photographs, motion pictures, video recordings, or audio recordings that were taken of the scene

 of the incident at any time prior to, concurrently with, or following the injury, that depict the scene

 of the collision, Plaintiff’s injuries, or that are otherwise relevant to any claim set forth in the

 Complaint.

        INTERROGATORY No. 16:                   Please describe, in detail, Plaintiff’s account of the

 incident that is the subject matter of the Complaint in this action. Please include in this account a

 description of the substance that Plaintiff claims was present on the stairs and caused his fall.

        INTERROGATORY No. 17:                   Please describe in detail all of Plaintiff’s actions

 taken to mitigate damages.

        INTERROGATORY No. 18:                   If Plaintiff was employed at the time of the subject

 incident, provide the name and address of any employer, the rate at which Plaintiff was paid, the
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 total hours of work missed, and the dates missed from work.

                                  REQUESTS FOR PRODUCTION

                                            INSTRUCTIONS

           Pursuant to Rule 34 of the Tennessee Rules of Civil Procedure, the Plaintiff is hereby

 required to produce for examination, inspection, and copying by the undersigned attorneys the

 following documents and things within his possession, custody, or control. Such production is to

 take place at the office of William C. Podesta, 40 South Main, 29th Floor, Memphis, Tennessee,

 38103, on or before the expiration of thirty (30) days, or in the alternative, this request may be

 complied with by providing copies of said requested items to Defendants’ attorney at the address

 given below.

           You are further notified that this request is deemed continuing so as to require supplemental

 responses if you obtain further material pertinent thereto prior to the completion of the trial of this

 matter.

           If privilege is claimed as a ground for not answering any request for production, or if a

 Request for production is otherwise objected to, describe the legal and/or factual basis for the claim

 of the privilege or other objection to each Request for production or Request for production part

 in sufficient detail so as to permit the Court to adjudicate the validity of the claim or objection, and

 identify all documents which refer to or relate to the information requested.

                           FIRST SET OF REQUESTS FOR PRODUCTION

           REQUEST No. 1:         Please produce any and all photographs or documents depicting the

 any injuries to Plaintiff, the scene of the incident, or other relevant information.

           REQUEST No. 2:         Please produce any and all medical records, bills, reports, or

 documents from any physicians or other practitioners of the healing arts, including hospitals and
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 clinics, who have treated or examined Plaintiff with respect to the injuries alleged in the Complaint.

        REQUEST No. 3:          Please produce any document which references permanence of

 injury sustained.

        REQUEST No. 4:          Please produce any and all documents evidencing charges made to

 you or expenses incurred by you for which you are seeking reimbursement in this lawsuit,

 including, but not limited to, medical services or treatment of any type.

        REQUEST No. 5:          To the extent you are claiming damages for lost income, past or

 future, please produce any and all documentation pertaining to or that supports this claim,

 including documentation of Plaintiff’s earnings and missed work.

        REQUEST No. 6:          Please produce Plaintiff’s income tax returns for the years 2017,

 2018, 2019, 2020, and 2021, including all schedules and W-2 forms, along with all proof of

 earnings to date for year 2022.

        REQUEST No. 7:          Please produce any and all medical reports, statements, bills, or

 documents from any physicians or other practitioners of the healing arts, including hospitals and

 clinics, who have treated or examined Plaintiff with respect to any injuries or problems similar or

 related to any of the injuries or problems alleged in the Complaint or referenced in Plaintiff’s

 Responses to Interrogatories and Requests for Production.

        REQUEST No. 8:          Please produce any documents, articles, correspondence, writing, or

 photographs which relate to any of the allegations in the complaint or any of the contentions

 identified in your response to interrogatories propounded in this action.

        REQUEST No. 9:          Please produce any other documents not produced which support

 any of your claims for damages.

        REQUEST No. 10: Please produce any other documents not produced which were
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 referred to in preparing your Responses to these Interrogatories and Requests for Production.

         REQUEST No. 11: Please provide completed, executed copies of the authorization(s)

 for the release of medical records, Social Security records, CMS records, and employment records,

 attached hereto as collective “Exhibit A.”

         REQUEST No. 12: Please produce any and all written, recorded, or documented

 statements that relate to any claim set forth in Plaintiff’s Complaint or any Defendant’s Answer,

 including all statements referenced in your Response to Interrogatory No. 14.

         REQUEST No. 13: For each individual identified in your Response to Interrogatory No.

 11, please provide a copy of their curriculum vitae.

         REQUEST No. 14: For each individual identified in your Response to Interrogatory No.

 11, please produce all documents provided to the individual by Plaintiff and/or Plaintiff’s counsel,

 directly or indirectly.

         REQUEST No. 15: For each individual identified in your Response to Interrogatory No.

 11, please produce all documents reviewed by the individual to formulate their opinions, including

 any documents that the expert reviewed during their research and study into the case.

         REQUEST No. 16: Please produce all correspondence between Plaintiff and/or

 Plaintiff’s counsel and any individual identified in your Response to Interrogatory No. 11.
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                                                       Respectfully submitted,

                                                       LEWIS THOMASON


                                                        s/ William C. Podesta
                                                       Christopher L. Vescovo, Esq. (BPR #14516)
                                                       William C. Podesta, Esq. (BPR #36303)
                                                       Suite 2900, One Commerce Square
                                                       40 S. Main Street
                                                       Memphis, TN 38103
                                                       (901) 525-8721
                                                       CVescovo@LewisThomason.com
                                                       WPodesta@LewisThomason.com
                                                       Attorneys for Defendant, Birge & Held Asset
                                                       Management, LLC




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of June, 2022, a copy of the foregoing pleading has
 been delivered to all parties at interest in this cause by placing a copy of same in the United States
 mail, postage prepaid, in a properly addressed envelope, or by delivering same to each party or
 party’s attorney as follows:

                              Hand     Allen Gressett
                              Mail     Schwed, Adams & McGinley, P.A.
                              Fax      88 Union Avenue
                              Fed X    11th Floor, Suite 1100
                              EFS      Memphis, Tennessee 38103
                              E-mail
                                       Attorney for Plaintiff


                                                        s/ William C. Podesta
                                                       William C. Podesta, Esq. (BPR #36303)
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